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                                                                                  3:25-mj-50
DISTRICT OF OREGON, ss:                              AFFIDAVIT OF NATHAN MILLER

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Nathan Miller, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), and have been since July, 2014. My current assignment is to the Portland,

Oregon Field Office. My training includes twenty-seven (27) weeks of Criminal Investigator

and ATF Special Agent Basic Training at the Federal Law Enforcement Training Center in

Glynco, Georgia. I have participated in investigations involving firearms trafficking, National

Firearms Act violations, unlawful firearms possession, and illegal narcotic trade, which often

involves firearms. I have participated in investigations involving complex criminal

organizations and gangs which often involve the illegal use and possession of firearms. I have

participated in investigations involving the manufacture, use, or attempted use of destructive

devices as well as arson related investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Adam Matthew Lansky (DOB: XX/XX/1983). The arrest warrant is requested for Unlawful

Possession of an Unregistered Firearm (Destructive Device), in violation of Title 26, United

States Code Section 5861(d) on January 20, 2025, hereinafter the “Target Offense”.

                                          Target Offense

       3.      I believe there is probable cause indicating Adam Matthew Lansky (Lansky)

committed the following offense:

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                •   Title 26, United States Code Section 5861(d) which makes it unlawful for any

                    person to possess a firearm1 which is not registered to him in the National

                    Firearms Registration and Transfer Record.

                                          Statement of Probable Cause

           4.       The following information, facts, and occurrences are the result of my knowledge,

an ongoing investigation, conversations with other law enforcement officers, and from my

review of reports related to this investigation. This affidavit is intended to show there is

probable cause for the requested criminal complaint and arrest warrant and does not purport to

set forth all of my knowledge of, or investigation into this matter.

Arson January 20, 2025:

           5.       On January 20, 2025, at approximately 3:44 a.m., Salem Police Department

(SPD) officers responded to a report of an individual (“Subject”) that was throwing Molotov

Cocktails at Tesla vehicles and dealership facilities located at 2755 Mission Street, Salem,

Oregon 97301. Salem officers arrived to see a fire on the sidewalk in front of the facility building

and another fire at the rear of a Tesla vehicle parked in front of the building, which caught the

vehicle on fire.

           6.       Salem Police Department incident reports state that an eyewitness to the incident

was charging his vehicle at a charging station located on the south side of the Tesla Center when

he saw the Subject walking to the Tesla Center traveling east on Mission Street Southeast with a



1
    Title 26, United States Code, Section 5845(a)(8) defines the term “firearm” to include a “destructive device”

Title 26, United States Code, Section 5845(f) defines “destructive device” as (1) any explosive, incendiary, or
poison gas (A) bomb, (B) grenade, (C) rocket having a propellent charge of more than four ounces, (D) missile
having an explosive or incendiary charge of more than one-quarter ounce, (E) mine, or (F) similar device.

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collapsible wagon. The Subject walked between the building and the vehicles parked in front of

it, then pulled out a bag and started lighting an object on fire. The Subject threw the object at a

red Tesla SUV parked in front of the building, which started to catch fire, and then threw an

object through the showroom window. The Subject proceeded to throw three or four more

objects at other vehicles parked in front of the building. The eyewitness unplugged his vehicle

and started to drive away, but then he saw the Subject exit the fence to the west of the Tesla

Center. The eyewitness described the Subject to police officers as a white adult male,

approximately 6 feet tall with a medium build, wearing black with a green or gray outer layer.

       7.      Investigators from SPD, ATF, and the Federal Bureau of Investigation (FBI) were

able to obtain and review security footage from the Tesla Center. A review of the security

footage showed the Subject traveling on foot from the east of the Tesla Center along Mission

Street Southeast, pulling a black collapsible wagon. The Subject stopped behind the Tesla sign in

front of the Tesla Center before moving toward the building. From there, the Subject can be seen

lighting a Molotov Cocktail-style device and throwing it at a Tesla Cybertruck parked in front of

the Tesla Center. The device bounces off the truck and does not ignite. The Subject then moves

toward the showroom building. The Subject then lights two devices, throws one at the building

and another at a red Tesla SUV parked in front of the showroom. The device bounces off the

vehicle and breaks on the sidewalk. The Subject moves in between the Tesla SUV and

showroom and lights another device and throws it to the north of the Subject’s position. At this

point in the security footage, the Subject sees the eyewitness driving away, and the Subject drops

the ignited device in the Subject’s hands and brandishes what appears to be an AR-15 style rifle

with a suppressor and points it toward the eyewitness as the eyewitness drives away. The


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dropped device breaks near the Subject and ignites, and the Subject then takes his wagon and

moves north to the front of the showroom. The Subject then throws a rock at the showroom

window, shattering the glass and then throws an ignited device into the showroom. The Subject

then throws two more ignited devices at two vehicles and takes off running toward the fence

located to the west of the Tesla Center. Screenshots from the security footage, below, show the

Subject igniting a device in front of the Tesla Center.




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The below screenshot highlights the suspect carrying an AR-15 style rifle with a suppressor.




       8.     Investigators were able to obtain and review security footage from Jackson’s

Food Store, a convenient store located at 2485 Mission Street S.E., Salem, OR 97302. A review

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of the security footage showed the Subject running west across the parking lot in front of

Jackson’s at approximately 3:50 a.m. wearing a dark colored face covering, blue beanie, and

backpack, and carrying a green or gray covering. The below screenshot shows the Subject

running across the Jackson’s parking lot:




       9.      Investigators also canvassed surrounding businesses and neighborhoods for any

available footage captured by business or residential security devices. Investigators were able to

obtain and review security footage from an office building located at 1095 25th Street Southeast,

Salem, Oregon 97301. A review of the security footage showed an individual walking south on

25th Street S.E. at approximately 1:09 a.m., wearing a dark-colored covering, dark pants, and

boots matching the description of what the Subject involved in the Tesla Center arson wore. The


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individual can be observed pulling a dark-colored wagon. Based on the timeline, direction of

travel, clothing worn by the individual, and the wagon, it is my belief that the individual captured

by the office building’s security camera is the Subject involved in the Tesla Center arson. Below

is a screenshot of the individual captured in the security footage from 1095 25th Street Southeast




       10.     Tesla Motors presently estimate they suffered approximately $500,000 in

damages as a result of the attack, according to the General Manager of the Tesla Center. A total

of seven Tesla vehicles suffered damage from the attack, with one vehicle destroyed. The below

photographs show some of the damage done to Tesla vehicles and dealer facility.

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       11.     Investigators observed the perimeter chain-link fence was cut near the northwest

corner of the parking lot. The Subject was last observed exiting through the chain-link fence

where it was cut.




                                                                            -



       12.     The devices used were made from glass wine bottles filled with a liquid that was

field-tested and determined to be ignitable liquid. Styrofoam, or similar substance material were

also located inside the devices. Cloth was wrapped around the base of each device and secured

by paracord. Investigators located four additional devices that were placed in the northeast corner

of the Tesla service parking lot.

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       13.    Evidence items were collected from the Tesla Center and certain items were

shipped to the FBI Laboratory in Huntsville, Alabama, for analysis.

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   Shooting February 19, 2025:

       14.     On February 19, 2025, the same Tesla Center was attacked again, this time with a

firearm. Multiple rounds were fired into the Tesla Center causing damage. SPD responded to

2755 Mission Street Southeast, Salem, Oregon, regarding a report of gunshots into the structure.

At the scene, officers observed projectiles believed to be spent bullets, bullet fragments, and

several projectile impacts. The projectiles had entered the interior floor space of the structure and

made impact in area that would be populated with customers and employees during business

hours. A vehicle parked indoors was also struck. Based on surveillance video review, it is

believed that the shooting took place at approximately 03:53 a.m.

       15.      There was a security guard on premises outside the structure-- who did not

become aware of the shooting immediately. The guard, who has prior military experience, told

investigators that he did not hear gunshots, indicating the possible use of a suppressed firearm.

Upon discovering the damage, the security guard alerted law enforcement.

       16.     SPD Detective Hodges learned that there was a Salem Police Department patrol

vehicle in the area shortly before the shots are believed to have been fired. The Salem police

officer did not hear any gunshots coming from the area of the Tesla Center. However, a camera

on the patrol vehicle captured a car parked in a nearby business, Harbor Freight, parking lot, a

few minutes before the shooting is suspected to have occurred. The car, a Volkswagen Jetta,

license plate 348 BNY, registered in Oregon, appeared unoccupied. Officers note that it was

outside business hours for Harbor Freight. A record query of the license plate revealed that the

vehicle is registered to Lansky at the address 849 25th Street Southeast, Salem, Oregon. Based

upon the review of surveillance video, the security guard’s statements, and the lack of reports


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regarding gunshots-- including from the patrol officer in the area, investigators believe that it is

possible the firearm was being fired with a suppressor attached to the muzzle, resulting in

reduced sound of gunfire. I know from my training and experience that a suppressor can easily

be attached to the front of AR-platform and AR and AK style semi-automatic rifles. Based on

training and experience investigators believe the projectiles recovered from the scene are likely

from a semi-automatic rifle. However, ballistics testing has not confirmed this investigative

opinion.

Forensic Evidence from Arson:

        17.          February 26, 2025, the FBI Laboratory provided results that identified four latent

prints on the below evidence items as belonging to LANSKY. A summary of the findings is

listed in the chart, below.

                                                           UNCLASSIFIED


                                  FBI Laboratory Latent Print Notification
                                       Latent Print Operations Unit
                                                                                                    Date: 02/26/2025

           TI1e following individual was identified by ibe Latent Print Operations Unit:
                   Name: ADA.' 1 LAl"iSKY




                                                         Identification Details

                                                  Locntion of identified prints                     Fin:;i:er l'iumber(s)
              Specimen
                                                                                                          Identified

                Item 12           Glass bottle with fabric and paper remnams. outside (IB15) 1        Right index (#2)

                Item 16                                                                         1     Right index (#2)
                                  Glass bottle with fab1ic and paper reumants. outside (IB21)

                Item 21           Glass bottle with fabric and paper remnants. outside (1B28) 1       Left middle (#8}

               Iiem 24-1                    Silver duct tape. non-adhesive side ( IB31}              Right middle (#3)
           1Pru1t located on glass bottle

           Initial idemification from: Manual co111pa1ison to named person




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             •   1B15 is a suspected Molotov-cocktail, green bottle with a cloth wick, recovered

                 from the northeast corner of the Tesla property.

             •   1B21 is a suspected Molotov-cocktail, green bottle with a cloth wick, recovered

                 from the northeast corner of the Tesla property.

             •   1B28 is also a suspected Molotov-cocktail, green bottle with a cloth wick,

                 recovered from the northeast corner of the Tesla property.

             •   1B31 is a portion of silver duct tape removed from 1B28, described above.

             •   The Date of Birth, and other specific identifiers for the Adam Lansky identified

                 by the FBI lab results is the same as the Adam Lansky, the Target of this

                 investigation.

       18.       Lansky’s residence is located at 849 25th Street Southeast, Salem, Oregon, 97301,

which is approximately 0.6 miles from the Tesla Center. Lansky’s residence is also north of and

in proximity to the office building located at 1095 25th Street Southeast, Salem, OR 97301.

Investigators have observed Lansky and his Jetta at his residence multiple times since the

fingerprint results were received on February 26, 2025. The video evidence as described in

paragraphs 8 and 9, above, shows the Subject running away (paragraph 8) and initially coming in

the area while pulling a cart (paragraph 9). The direction of travel captured in footage from both

businesses would be consistent with the subject arriving in the area with the Molotov type

devices form the direction of Lansky’s residence and later fleeing back toward the direction of

Lansky’s residence.

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National Firearms Registration and Transfer Record (NFRTR):

       19.     I reviewed a query from the NFRTR documenting multiple firearms registered to

Lansky, listed under the “Lansky Firearm Trust”, a trust in which Lansky is listed as the

responsible party. The results include a short barrel rifle and two silencers. The results did not

include any destructive devices, which Molotov Cocktail type devices would be defined as. The

chart below shows the list of items in Lansky’s firearm trust.

                                        LANSKY Fiream Trust
              Type:        Make         Model           Caliber   Serial number:
              SBR          Stribog      SP9A3                   9            GSB7422
              Silencer     TBC          22 Takedown            22             TD2167
              Silencer     CG6          Nautilus               45           NAU0290

Destructive Device Determination:

       20.     On February 27, 2025, ATF Destructive Device Examiner Jason Vary, reviewed

photographs, videos, and reports of six suspected Molotov Cocktails. The six included the four

intact suspected Molotov Cocktails found in the rear parking lot of the Tesla Center Dealership

and two broken suspected Molotov Cocktails used to set the red Tesla on fire and one that was

thrown into the Tesla Center Dealership. Destructive Device Examiner Vary reported that all six

suspected Molotov Cocktails are consistent with the construction and characteristics of a

destructive device under 26 U.S.C. § 5845(f). Pending the receipt of the laboratory report,

physical evidence, and subsequent examination, Destructive Device Examiner Vary will issue a

final determination.

                                            Conclusion

       21.     Based on the foregoing, I have probable cause to believe, and I do believe Adam

Matthew Lansky (DOB: XX/XX/1983) committed the Target Offense.

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       22.     Prior to being submitted to the Court, this affidavit, the accompanying

application, and the requested search warrant were all reviewed by Assistant United States

Attorney (AUSA) Parakram Singh. I was informed that it is AUSA Singh’s opinion that the

affidavit and application are legally and factually sufficient to establish probable cause to support

the issuance of the requested warrant.

                                         Request for Sealing

       23.     I further request that this Court issue an order sealing, until further order of the

Court, all papers submitted in support of the requested criminal complaint, including the

application, this affidavit, and the requested arrest warrant. I believe that sealing these

documents is necessary because the information to be seized is relevant to an ongoing

investigation, and any disclosure of the information at this time may cause flight from

prosecution, cause destruction of or tampering with evidence, cause intimidation of potential

witnesses, or otherwise seriously jeopardize an investigation. Premature disclosure of the

contents of the application, this affidavit, the attachments, and the requested search warrant may

adversely affect the integrity of the investigation.


                                                       By phone pursuant to Fed. R. Crim. P. 4.1
                                                       NATHAN MILLER
                                                       Special Agent, ATF

       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

 4:25 pm
____________            3
             on March ______, 2025.



                                                       ________________________________
                                                       HONORABLE JOLIE A. RUSSO
                                                       United States Magistrate Judge

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